Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 1 of 22 Page ID
                                 #:17291


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 13
 14                       UNITED STATES DISTRICT COURT
 15                      CENTRAL DISTRICT OF CALIFORNIA
 16                               WESTERN DIVISION
 17
 18   GYRODATA INCORPORATED,                 Case No. CV 08-7897-GHK (FMOx)
 19                 Plaintiff,               GYRODATA’S MEMORANDUM IN
                                             SUPPORT OF MOTION TO
 20         vs.                              ENFORCE MSJ ORDER AND
                                             STRIKE DEFENDANTS’
 21   ATLANTIC INERTIAL SYSTEMS              OBJECTIONS AND SUMMARY
      INC., a California and Delaware        JUDGMENT BRIEFING
 22   corporation; BAE SYSTEMS, INC., a      VIOLATIONS
      Delaware corporation; BAE SYSTEMS
 23   CONTROLS INC., a Delaware              Judge:          Hon. George H. King
      corporation; BAE SYSTEMS               Courtroom:      650
 24   INFORMATION AND ELECTRONIC             Hearing Date:   July 2, 2012
      SYSTEMS INTEGRATION INC., a            Hearing Time:   9:30 a.m.
 25   Delaware corporation; and DOES 1-10,
                                             Second Amended Complaint filed:
 26                 Defendants.              October 30, 2009
 27
 28
      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 2 of 22 Page ID
                                 #:17292


  1                     GYRODATA’S MOTIONS AND REPLIES
  2                                            I.
  3                                        Summary
  4         The BAE Systems Defendants and Defendant Atlantic Inertial Systems, Inc.
  5   committed at least three separate violations of the Court’s Order Re: Motion for
  6   Summary Judgment filing (“the MSJ Order”): (1) they filed 30 pages of separate
  7   evidentiary objections prohibited by paragraph 8 of the MSJ Order; (2) used
  8   expansive footnoting to grant themselves a nearly four page extension; and (3)
  9   made substantial and ongoing changes in moving papers after agreeing that they
 10   were to be fixed and final, thus violating the Order to cooperate in the MSJ process.
 11   ECF #432-435.
 12         This Court gave all parties notice of the MSJ Order early in this case. The
 13   Court followed the MSJ Order by a specific order allowing each side 30 pages and
 14   warned that circumvention of page limits or failure to cooperate would cause the
 15   motions to be stricken and denied. ECF No. 423. Gyrodata asks that the Court
 16   enforce the MSJ Order by: (1) striking the additional evidentiary objections; (2)
 17   striking the Defendants’ footnotes in their entirety and disregarding arguments
 18   contained in them; and (3) striking the BAE Systems Defendants’ Motions 3, and 7-
 19   9, due to last minute changes affecting Gyrodata’s ability to respond. If the Court
 20   elects not to strike the extra objections, then Gyrodata asks that the Court consider
 21   Gyrodata’s specific responses filed contemporaneously with this Motion.
 22                                            II.
 23                             Gyrodata’s Motions to Strike
 24         A.    Improper Evidentiary Objections. The MSJ Order could not be
 25   clearer: “EVIDENTIARY OBJECTIONS: All necessary evidentiary objections
 26   shall be made in the relevant section(s) of the joint brief.” ECF #72 at ¶8 (emphasis
 27   added). The parties were granted leave to file summary judgment motions “in
 28   compliance with our previous Order Re: Motions for Summary Judgment (MSJ
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 3 of 22 Page ID
                                 #:17293


  1   Order). ECF # 423. The purpose of these Orders is self-evident—to ensure that:
  2   (1) the Court is apprised of serious evidentiary objections that might impact the
  3   summary judgment decision; (2) the parties receive equal opportunity to brief their
  4   positions; and (3) the parties exchange objections early in the briefing process to
  5   avoid correctable evidentiary issues so that motions for summary judgment are
  6   considered on the merits, rather than on surprise objections.
  7         Defendants have attempted to circumvent the page limits of 30 pages per side
  8   by filing separate evidentiary objections not contained in the relevant section of the
  9   Joint Brief. The Objections consist of nearly 30.5 pages of additional briefing.
 10   Even worse, the Objections were filed unannounced and with no prior conference,
 11   at 11:55 – 11:59 p.m. on the day of filing. The objections are purportedly captioned
 12   as a motion to strike, even though no Rule 7-3 conference was ever held. None of
 13   the separately-filed objections were disclosed in the prior exchanges of briefing by
 14   the Parties. As a result, Gyrodata had no opportunity to respond to the objections
 15   or to correct or replace declarations with other supporting testimony and evidence.
 16   The last-minute filing was calculated to prevent Gyrodata from locating, proving up
 17   and attaching replacement evidence in those instances where an objection had been
 18   raised. Moreover, Gyrodata would be prejudiced if the Defendants are permitted to
 19   file separate evidentiary objections in violation of the MSJ Order, while Gyrodata is
 20   limited to the objections made in the relevant sections of the Joint Brief.
 21         Subject to and without waiving this Motion to Strike, Gyrodata files its
 22   Responses to the Objections raised by Defendants. The Objections are utterly
 23   without merit and in most cases are either meaningless “form” objections or
 24   outright misrepresentations of Gyrodata’s disclosures in this case.           Gyrodata’s
 25   individual responses are organized in the same tabular manner as the objections so
 26   side-by-side comparison of objection and response can be undertaken, if desired.
 27         The Defendants’ violations of the Court’s MSJ Order are not limited to the
 28   objections. There are at least two other instances where the Defendants flagrantly
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 4 of 22 Page ID
                                 #:17294


  1   violated the Court’s MSJ Orders and the parties’ agreements regarding preparation
  2   of the Joint Brief.
  3         B.     Abusive footnote usage.      The pre-filing exchange of the parties
  4   established deadlines by which the Parties were to drop potential motions for
  5   summary judgment in order to comply with page limits. Gyrodata dropped three of
  6   its proposed motions but Defendants, particularly the BAE Defendants, elected not
  7   to drop any of the nine motions for summary judgment they had originally given
  8   notice they might file. Rather than making difficult choices (as Gyrodata did), the
  9   Defendants elected to cheat by moving the text of their motions into 33 footnotes
 10   (7-1/2 pages double-spaced) to gain a nearly four-page extension. (EA 503, pp.
 11   8782-90.) BAE is a repeat offender of this specific practice, having issued single
 12   spaced briefing to Magistrate Judge Olguin in an attempt to circumvent page limits
 13   and having that briefing stricken. (EA 504, pp. 8791-94.)
 14         Gyrodata asks that the Court remove any advantage Defendants obtained by
 15   violating the MSJ Order. This can occur either by striking the footnotes and
 16   ignoring any arguments raised in them, or alternatively by enforcing the actual page
 17   limits and striking all arguments or motion appearing within the last four (self-
 18   augmented) pages of the BAE Defendant’s briefing.
 19         C.     Changing moving papers after final exchange deadlines. Both the
 20   MSJ Order and the Reminder Order advised the parties to cooperate in the
 21   preparation and presentation of the Joint Brief. In that vein, the parties held an
 22   initial meet and confer in early March 2012, and another in-person meet and confer
 23   on April 11, 2012. As a result of the meet and confer process, the parties agreed to
 24   exchange draft motions and responses on March 12th and April 9th, final moving
 25   papers on April 19th, and final oppositions on April 25th. (EA 505, pp. 8795-00;
 26   EA 506, pp. 8801-06; EA 507, pp. 8807-18.)
 27         On April 25th, however, both Defendants made hundreds of unannounced
 28   changes in their affirmative moving papers: adding new arguments, legal citations,
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 5 of 22 Page ID
                                 #:17295


  1   and evidence, even though final affirmative motions were due on April 19th. (EA
  2   508, pp. 8819-66.) Plaintiff objected to the Defendants’ late and unannounced
  3   changes in the moving papers (which were made unannounced after Gyrodata
  4   submitted its final opposition papers). AIS made changes to bring its briefing back
  5   into compliance, but BAE continued to add new evidence that had not been cited in
  6   its final moving papers up to and including the day of filing, making its affirmative
  7   motions a moving target. Id.; (EA 509, pp. 8867-07).
  8         Gyrodata moved succinctly, and as part of the Joint Brief,1 that BAE’s
  9   Motions 3, and 7-9, be stricken and continues to believe this remedy is appropriate.
 10   ECF No. 423. After the Joint Brief was filed, the BAE Defendants’ claimed that
 11   the changes mostly involve the last-minute addition of evidence rather than new
 12   argument. In other words, after being caught with their hand in the cookie jar, BAE
 13   claims it withdrew most of the new legal argument, but admits it added new
 14   evidence that was not cited in the body of BAE’s April 19 final moving papers. It is
 15   frankly impossible at this stage to unscramble the egg the BAE Defendants have
 16   created.   The problem with this proof, aside from the inability to verify with
 17   certainty whether nineteen pages of changes are all without meaning as the BAE
 18   Defendants now contend (if so, why make the changes), is that the mere process of
 19   ongoing change during the last critical moments of brief preparation diverted
 20   Gyrodata’s attention, energy and focus.
 21         Even if every scrap of evidence BAE added on the day the Joint Brief was
 22   due could theoretically be found somewhere in the voluminous statement of facts,
 23   BAE’s last-minute additions of evidence are not insignificant. The evidence is at
 24   the core of a motion for summary judgment. Allowing BAE to change the proof
 25   identified in its final moving papers after Gyrodata prepared its final opposition
 26   papers would nullify months of work in the briefing process and require countless
 27   1
       Gyrodata replaces the objection stated at page 61 of the Joint Brief with this more
      detailed statement of the violation by the BAE Defendants.
 28
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 6 of 22 Page ID
                                 #:17296


  1   hours of additional work. The practical effect of BAE’s last minute changes to its
  2   affirmative motions, which continued throughout the weekend and the day of filing,
  3   is that Gyrodata was unable to prepare its opposition with full disclosure of all of
  4   the evidence BAE cited as support for Motions 3 and 7-9. As a result, Gyrodata
  5   had no meaningful opportunity to review the added evidence, cite additional
  6   evidence of its own to rebut any last-minute evidentiary changes that were not
  7   disclosed in the final 4/19 brief, or prepare objections to the late-added evidence.
  8   The Court would be well within its rights simply to strike the Defendants’ briefing
  9   for a failure to follow the MSJ Order and Order directing the parties to cooperate in
 10   the briefing process. If the court denies the BAE Defendants’ Motions 3 and 7-9,
 11   the issue will be moot. At a minimum, if the Court elects not to strike BAE’s
 12   Motions, Gyrodata requests that to the extent any part of the Court’s rulings may
 13   have been based on a late added piece of proof, that Gyrodata be permitted to fully
 14   respond as it might have, had the BAE Defendants followed the deadlines to which
 15   they committed.
 16                                           III.
 17                            Reply to Defendants’ Responses
 18         During the meet and confer process, AIS and the BAE Defendants identified
 19   several diversionary arguments that they intend to raise in separately filed
 20   responses. Gyrodata will address them sequentially.
 21         A. The AIS Response. AIS claims that Rule 56 of the Federal Rules of
 22   Civil Procedure permits it to make whatever evidentiary objections it pleases
 23   without regard to this Court’s Order. In addition, per AIS, compliance with the
 24   Court’s Order was just “too hard” because Gyrodata filed detailed, lengthy
 25   declarations in opposition to summary judgment. Finally, it argues that since it
 26   mentioned the objections generically in its motion, it was entitled to expand them
 27   by 30 pages in a separate document. None of these arguments have merit.
 28         Rule 56 contains no provision permitting a party to make unlimited
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 7 of 22 Page ID
                                 #:17297


  1   objections regardless of Court rules governing the filing of motions for summary
  2   judgment. Rule 56(c)(2) merely recites that a party “may” object that the material
  3   cited to support or dispute a fact cannot be presented in a form that would be
  4   admissible into evidence.” It neither permits unlimited objection nor curbs the
  5   district court’s ability to apply rules of reason such as page limits. The district
  6   courts have long been empowered to adopt rules describing the manner by which
  7   parties are to exercise the rights set out in the Federal Rules of Civil Procedure.
  8   L.R. 1-1; See, e.g. Aspenlind v. Spartan Mortg. Services, Civ. No. S-11-00366
  9   MCE GGH, 2011 WL 3490480, at *2 (N.D. Cal. August 9, 2011).                   Were it
 10   otherwise, parties would do what Defendants have done here—make up their own
 11   rules and force District Courts to pick up the pieces.
 12         There is nothing truly unusual about this case that would suggest that
 13   Defendants cannot comply with this Court’s rules. This Court has disposed of
 14   thousands of cases utilizing these rules, including complicated patent matters and
 15   securities fraud disputes involving far more complicated and extensive declarations
 16   than those filed by Gyrodata here.          See, e.g. Brown v. Brewer, CV-06-3731
 17   GHK(SH). Each of those litigants complied with the Court’s Order, and with
 18   adequate planning Defendants could have done so as well. Before complaining that
 19   Gyrodata’s declarations were “too long,” Defendants might have been well served
 20   to consider the advisability of filing ten marginal summary judgment motions that
 21   required extensive response. Finally, Defendants cannot simply rely upon self-help.
 22   Even if Defendants truly felt that they could not comply with the Court’s Rule Re:
 23   Summary Judgment, they should have filed an appropriate motion with the Court
 24   asking permission to make separate evidentiary objections, not violate the standing
 25   rule as though it were a matter of right.
 26         AIS’ argument that the inclusion of generic objections to declarations as a
 27   whole in their brief entitles them to 30 pages of separate objections is just nonsense.
 28   First, it is patently untrue—the motions contain objections that are different and
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 8 of 22 Page ID
                                 #:17298


  1   more narrow in substance than those found in the separate objections. Second,
  2   when the Court recited that “All necessary evidentiary objections shall be made in
  3   the relevant section(s) of the joint brief” it really meant “all.” “All” 2: every
  4   member or individual component of <all men will go>.” Merriam Webster Online
  5   Dictionary.2 By compelling Parties to place all evidentiary objections in the brief,
  6   MSJ Order forces Parties to focus on serious and incurable evidentiary issues (such
  7   as for example Daubert challenges leading to no evidence points) rather than
  8   blathering forth repeated form objections.
  9           B.    The BAE Defendants’ Objections. In the meet and confer process
 10   the BAE Defendants have not directly addressed their transgressions with regard to
 11   improperly-filed objections. Indeed it would be difficult for them to do so, since in
 12   the meet and confer preceding the filing of the Joint Brief, the BAE Defendants’
 13   counsel insisted that all evidentiary objections be made in the joint brief, but then
 14   proceeded to violate the rule they announced and clearly understood:
 15                 MR. BENAUR: I had one other issue. This whole issue
                    of evidentiary objections, so the order says that all
 16                 necessary evidentiary objections shall be made in the
                    relevant sections of the joint brief. Presently the way I've
 17                 seen it done is it's primarily done in the statement of
                    uncontested facts. I think this is an important point
 18                 because, you know, for example you guys make an issue
                    out of these negotiations, you think it's 408 … What I
 19                 would suggest is if we're going to go there, whether it's
                    408, piercing, hearsay on the Bonsick declaration or
 20                 anything else, that we brief it.
 21                 MS. HENIFIN: It has to be in the brief and then we'll
                    know we have to oppose in the brief. But it can't just be
 22                 raised in the evidentiary appendix because the court has
                    said we will not take account of anything that's addressed
 23                 in the evidentiary appendix.
 24           Ex. B at 77:15–78:19 (April 11, 2012 meet and confer excerpt).
 25   Rather, BAE attempted to use the meet and confer process as a diversion to argue
 26   non-responsive points—and give excuses for their previous transgressions. They
 27
      2
          http://www.merriam-webster.com/dictionary/all
 28
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 9 of 22 Page ID
                                 #:17299


  1   accomplish this result by making an offer during the meet and confer phase and
  2   then arguing that had Gyrodata accepted their “very reasonable” offer this Motion
  3   could have been avoided. The BAE Defendants committed three violations of the
  4   Order Re: Summary Judgment: (1) they used footnotes to expand their page count
  5   by almost four pages; (2) they reached an agreed briefing schedule per the Court’s
  6   obligation to cooperate then breached it; and (3) filed 30 pages worth of evidentiary
  7   objections. BAE’s “very reasonable” offer was that Gyrodata would ignore the
  8   first two violations and it would withdraw the third (evidentiary objections).
  9   (Gyrodata reviewed the materials submitted by the BAE Defendants and offered to
 10   accept a compromise resolving issues 2 and 3, but AIS was unwilling to do so.)
 11   The result is that the BAE Defendants’ position is a patent effort to draw attention
 12   away from the third violation.
 13         Gyrodata raised the first two violations contemporaneously in the joint brief
 14   and stands on that briefing. The BAE Defendants dismissed the arguments as
 15   frivolous, but appear to now be uncomfortable with that position, and appear intent
 16   on using the response to this Motion to re-brief the matter. To the extent that the
 17   Court is willing to entertain additional briefing on violation #2, rather than this
 18   Motion, Gyrodata responds as follows:
 19         1.    Gyrodata met the agreed schedule. Gyrodata’s changes to its moving
 20               papers were made before April 19th. Afterwards the only changes
 21               made by Gyrodata were the substitution of final Evidentiary Appendix
 22               references to the declarations, brief text, and statement of uncontested
 23               facts. Declaration of Kimberly Lewis. Ex. A. Significant changes in
 24               the response to motions for summary judgment between the “draft”
 25               (April 19th) and “final” (April 25th) stages were made as permitted by
 26               the Parties’ agreement.     Gyrodata makes no complaint about the
 27               Defendants’ changes to their responsive papers during this period;
 28
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      GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
           DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 10 of 22 Page ID
                                 #:17300


  1               rather, Gyrodata’s complaint is directed to changes in the moving
  2               papers after they were required to be final.
  3         2.    Gyrodata’s complaint was prompt. The violation occurred on April
  4               25, 2012, late in the evening, and Gyrodata advised both Defendants of
  5               the violation the next morning, setting a meet and confer that
  6               afternoon.   In the next few days Gyrodata repeatedly brought the
  7               matter to the BAE Defendants’ attention and advised them that if they
  8               refused to comply it would move to strike its moving papers. While
  9               AIS brought its brief back into compliance and Gyrodata withdrew the
 10               motion to strike as to them, the BAE Defendants did not.
 11         3.    Gyrodata did not object to elimination of text by the BAE Defendants
 12               to comply with page limits so long as the footnote rules were followed,
 13               or to the renumbering of exhibits as long as the evidence was
 14               previously cited directly in the final moving papers due on April 19th.
 15         4.    Defendants’ arguments that they made no substantive changes are
 16               impossible to document and miss the point. A manual compare-write
 17               contrast of the April 25th moving papers, and those filed by the BAE
 18               Defendants on April 30th shows nineteen pages of changes. The BAE
 19               Defendants claim that no new arguments, authorities or evidence were
 20               mustered, but rather the data was simply re-numbered and shrunk to
 21               meet page limits. Yet, the BAE Defendants’ own papers illustrate
 22               dozens of instances in which evidence not cited in BAE’s final April
 23               19th moving papers was added to the Brief. Had this been done on a
 24               timely basis, Gyrodata’s response might well have been different.
 25               Second, each side obtained an agreement that the moving papers
 26               would be final as of April 19th to ensure that they were not responding
 27               to a moving target.       Allowing the BAE Defendants’ additional
 28               arguments and refocused proof during this period: (1) deprived
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       GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
            DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 11 of 22 Page ID
                                 #:17301


  1                     Gyrodata of any meaningful ability to respond (or object) to new
  2                     arguments and proof; and (2) required Gyrodata to spend scarce pre-
  3                     filing time policing the BAE Defendants’ violations. The result is that
  4                     the Joint Brief contains redirected proof and argument by BAE to
  5                     which Gyrodata has had no meaningful ability to reply.
  6                                                     IV
  7                                            Relief Requested
  8           First, Gyrodata requests that the additional Evidentiary Objections outside
  9   the briefing be stricken. Alternatively, it moves the Court to consider its responses
 10   and overrule the objections because they are meritless. Second, Gyrodata moves
 11   that the footnotes contained in Defendants’ briefing be stricken and ignored, or that
 12   alternatively the last 3.75 pages (the self-awarded extension) be stricken and
 13   disregarded. Third, Gyrodata requests that BAE Defendants’ Motions 3, and 7-9 be
 14   stricken from the Joint Brief. Gyrodata requests all other and further relief to which
 15   it may be entitled.
 16   Dated: June 4, 2012.                  FULKERSON LOTZ LLP
 17
 18
                                            By:
 19                                                Thomas M. Fulkerson
                                                   Wesley G. Lotz
 20
                                                   Attorneys for Plaintiff
 21                                                GYRODATA INCORPORATED
 22   GYR60.019 86054

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       GYRODATA’S MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE MSJ ORDER AND STRIKE
            DEFENDANTS’ OBJECTIONS AND SUMMARY JUDGMENT BRIEFING VIOLATIONS
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 12 of 22 Page ID
                                 #:17302




                    EXHIBIT A
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 13 of 22 Page ID
                                 #:17303
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 14 of 22 Page ID
                                 #:17304
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 15 of 22 Page ID
                                 #:17305




                    EXHIBIT B
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 16 of 22 Page ID
                                 #:17306
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 17 of 22 Page ID
                                 #:17307
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 18 of 22 Page ID
                                 #:17308
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 19 of 22 Page ID
                                 #:17309
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 20 of 22 Page ID
                                 #:17310
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 21 of 22 Page ID
                                 #:17311
Case 2:08-cv-07897-GHK-FMO Document 471-1 Filed 06/04/12 Page 22 of 22 Page ID
                                 #:17312
